  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 1 of 9 PageID: 1




Yongmoon Kim, Esq.
Email: ykim@kimlf.com
KIM LAW FIRM LLC
411 Hackensack Avenue, Suite 701
Hackensack, New Jersey 07601
Tel. & Fax (201) 273-7117
Attorneys for Plaintiff and the Proposed Class

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


CAROLINA C. ZAMORA, on behalf of herself
and those similarly situated,

                Plaintiff,

        vs.

NATIONWIDE CREDIT, INC.;                                    CLASS ACTION COMPLAINT
and JOHN DOES 1 to 10,

                Defendants.


        Plaintiff, Carolina C. Zamora, by way of Class Action Complaint against Defendant

Nationwide Credit, Inc., (and John Does 1 to 10) states:

                               I.   NATURE OF THE ACTION

        1.      This class action for statutory damages arises from the Defendant’s violations of

the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

        2.      As described more fully below, Defendant violated the FDCPA against Plaintiff

and other New Jersey consumers by, inter alia, falsely representing that, “[b]ecause of interest,

late charges, and other charges that may vary from day to day, amount due on the day you pay

may be greater. . . .”




                                            Page 1 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 2 of 9 PageID: 2




                            II.    JURISDICTION AND VENUE

       3.      This Court has jurisdiction to entertain this matter pursuant to 15 U.S.C. §

1692k(d) and 28 U.S.C. § 1331.

       4.      Venue in this action properly lies in the District Court of New Jersey, Newark

Vicinage, as Defendants regularly do business in this district.

                                       III.      PARTIES

       5.      Plaintiff Carolina C. Zamora (“Plaintiff” or “Zamora”) is a natural person residing

in Bergen County, New Jersey.

       6.      Defendant Nationwide Credit, Inc. (“NCI”) is a foreign corporation with its

principal place of business located at 500 Virginia Drive, Suite 514B, Ft. Washington,

Pennsylvania, 19034.

       7.      The Plaintiff is informed and believes, and on that basis alleges, that Defendants

John Does 1 to 10 are natural persons and/or business entities all of whom reside or are located

within the United States and personally created, instituted and, with knowledge that such

practices were contrary to law, acted consistent with and oversaw policies and procedures used

by the employees of Defendants that are the subject of this Complaint. Those Defendants

personally control the illegal acts, policies, and practices utilized by Defendants and, therefore,

are personally liable for all of the wrongdoing alleged in this Complaint.

       8. In this pleading, “Defendants” in the plural refers to all Defendants.

                                         IV.      FACTS

   A. Background

       9.      Defendant is not in the business of extending credit, selling goods or services to

consumers.




                                               Page 2 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 3 of 9 PageID: 3




       10.     Defendant regularly collects or attempts to collect past-due and defaulted debts of

natural persons allegedly owed to others which were incurred primarily for personal, family or

household purposes.

       11.     The principal purpose of Defendant is the collection of debts.

       12.     When attempting to collect debts, Defendant uses the mails, telephone, the

internet and other instruments of interstate commerce.

       13.     Defendant has asserted that Plaintiff incurred or owed one or more financial

obligation originating and which arose from one or more transaction which were primarily for

the Plaintiff’s personal, family, or household purposes. (“Debt” or “Account”).

       14.     The Debt arose from one or more transactions which were primarily for the

Plaintiff’s personal, family, or household purposes.

       15.     The debts alleged to be owed by Plaintiff and those similarly situated were

incurred for personal, family or household purposes.

       16.     Defendant contends that the Account was past-due and in default.

       17.     Defendant is a debt collector.

       18.     The Account was allegedly assigned to Defendant for collecting the Debt.

       19.     The Account was past-due and in default when it was placed with or assigned to

Defendant for collection.

   A. Threatening Balance May Increase Due to Interest, Late Charges, and Other
      Charges

       20.     In attempts to collect the Debt allegedly owed by Plaintiff, Defendant mailed a

collection letter to Plaintiff on November 7, 2019 (“NCI Letter”). A true but redacted copy of the

collection letter is attached as Exhibit A.




                                              Page 3 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 4 of 9 PageID: 4




       21.     Upon information and belief, the NCI Letter was the initial written

communication from Defendants to Plaintiff concerning the Account.

       22.     Plaintiff received and reviewed the collection letter.

       23.     Defendant falsely threatened “interest, late charges, other charges” when the

balance of the account would never increase due to “interest, late charges, other charges”.

Defendants stated: “As of the date of this letter you owe $10,666.46. Because of interest, late

charges, and other charges that may vary from day to day, the amount due on the day you pay

may be greater. Hence, if you pay the amount shown above, an adjustment may be necessary

after we receive your payment. . . .”

       24.     In fact, however, the balance of the Account could not increase and the creditor

never intended to add, would not add, and did not add any lawful interest, late charges, or other

fees and charges to increase the balance stated in the NCI Letter.

       25.     Defendant failed to accurately state the amount of the Debt, and falsely,

deceptively, and misleadingly represented to the least sophisticated consumer that the amount

owed to the creditor would or could increase over time—indeed, that the amount owed had

already changed by the time the collection letter was received days later.

       26.     Defendant’s collection letter effect of leading a consumer to conclude that the

amount due is not static but, instead, could increase, materially affects the decision of the least

sophisticated consumer whether to pay the debt because, with limited resources and the inability

to pay all debts, such a consumer would rationally pay a debt with a balance that was increasing

due to interest before paying an otherwise identical debt with a static balance.

       27.     Therefore, the NCI Letter deprived Plaintiff and other New Jersey consumers of

truthful, non-misleading, information in connection with Defendant’s attempt to collect a debt.




                                             Page 4 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 5 of 9 PageID: 5




        28.      Defendant engaged in unlawful practices in violation of the FDCPA including but

not limited to 15 U.S.C. §§ 1692e, 1692e(2)(A), 169e(5), 1692e(10), 1692f, 1692g, and

1692g(a)(1).

        29.      Defendant used the same procedures that they employed in sending the NCI

Letter to Plaintiff when sending the same and/or similar letters to numerous other New Jersey

consumers.

                             V.     CLASS ACTION ALLEGATIONS

        30.      This action is brought and may properly proceed as a class action, pursuant to the

provisions of Rule 23 of the Federal Rules of Civil Procedure. Plaintiff brings this action on behalf

of herself and others similarly situated. Subject to discovery and further investigation which may

cause Plaintiff to narrow, expand or otherwise modify the following class definition at the time

Plaintiff moves for class certification, Plaintiff seeks certification of class initially defined as

follows:

                 Class A: All natural persons with an address in the State of New
                 Jersey, to whom, beginning November 7, 2019, through and
                 including the final resolution of this case, Nationwide Credit, Inc.,
                 sent one or more letter(s) in attempts to collect a debt which stated:
                 “Because of interest, late charges, and other charges that may vary
                 from day to day, the amount due on the day you pay may be
                 greater.”

        31.      Based on discovery and further investigation (including, but not limited to,

Defendant’s disclosure of class size and net worth), Plaintiff may, in addition to moving for class

certification using modified definitions of the class, class claims, and the class period, and/or seek

class certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4). Such

modified definitions may be more expansive to include consumers excluded from the foregoing

definitions but who were mailed a letter using substantially the same form or template as was used

to create the collection letters.


                                                Page 5 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 6 of 9 PageID: 6




       32.     Plaintiff seeks to recover statutory damages, attorney’s fees and costs on behalf of

all class members under the Fair Debt Collection Practices Act.

       33.     The class for whose benefit this action is brought are so numerous that joinder of

all members is impracticable.

       34.     There are questions of law and fact common to the members of the class that

predominate over questions affecting only individuals, including but not limited to:

               A.      Whether Defendant is a debt collector under the FDCPA;

               B.      Whether Defendant violated the FDCPA, including but not
               limited to 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), 1692e(10),
               1692f, 1692g, and 1692g(a)(1); and

               C.      Whether Plaintiff and the class are entitled to damages.

       35.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. The FDCPA

statutory scheme provides for statutory damages payable to each class member. A class action

will cause an orderly and expeditious administration of the claims of the class and will foster

economies of time, effort and expense.

       36.     The claims of the Plaintiff are typical of the claims of the members of the class.

       37.     The questions of law and/or fact common to the members of the class

predominate over any questions affecting only individual members.

       38.     Plaintiff does not have interests antagonistic to those of the class.

       39.     The class, of which Plaintiff is a member, is readily identifiable.

       40.     Plaintiff will fairly and adequately protect the interests of the class, and has

retained competent counsel experienced in the prosecution of consumer litigation. Proposed

Class Counsel have investigated and identified potential claims in the action; have a great deal of




                                            Page 6 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 7 of 9 PageID: 7




experience in handling class actions, other complex litigation, and claims of the type asserted in

this action.

        41.    The prosecution of separate actions by individual members of the class would run

the risk of inconsistent or varying adjudications, which would establish incompatible standards

of conduct for the Defendant in this action or the prosecution of separate actions by individual

members of the class would create the risk that adjudications with respect to individual members

of the class would as a practical matter be dispositive of the interests of the other members not

parties to the adjudications or substantially impair or impede their ability to protect their

interests. Prosecution as a class action will eliminate the possibility of repetitious litigation.

        42.    Plaintiff does not anticipate any difficulty in the management of this litigation.

                           VI.     VIOLATIONS OF THE FDCPA

        43.    Plaintiff reasserts and incorporates herein the allegations contained in the

preceding and following paragraphs.

        44.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        45.    The Debt is a consumer “debt” as defined by 15 U.S.C. § 1692a(5).

        46.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) and the

interpretations thereof.

        47.    Defendant is not a “creditor” as defined by 15 U.S.C. § 1692a(4).

        48.    The collection letter is a “communication” as defined by 15 U.S.C. § 1692a(2).

        49.    Defendant violated the FDCPA, including but not limited to, 15 U.S.C. § 1692e

(including 15 U.S.C. §§ 1692e(2)(A), 1692e(5), 1692e(10)); 15 U.S.C. § 1692f; and 15 U.S.C.

§ 1692g (including 15 U.S.C. § 1692g(a)(1)).

        50.    The violations of the FDCPA described herein constitute per se violations.




                                             Page 7 of 9
  Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 8 of 9 PageID: 8




       51.     Based on any one or more of those violations, Defendant is liable to Plaintiff for

damages, attorney’s fees and costs under 15 U.S.C. § 1692k.

                              VII.      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Carolina C. Zamora demands judgment against Defendant

Nationwide Credit, Inc. as follows:

       A.      For certification of this instant matter as a class action, appointing the named
               Plaintiff as representative of the class, and appointing the attorneys of Kim
               Law Firm LLC as class counsel;

       B.      For statutory damages in favor of Plaintiff pursuant to 15 U.S.C. §
               1692k(a)(2)(B)(i) or, in the alternative, 15 U.S.C. § 1692k(a)(2)(A);

       C.      For statutory damages in favor of the class pursuant to 15 U.S.C. §
               1692k(a)(2)(B)(ii);

       D.      For actual damages in favor of Plaintiff and the class pursuant to 15 U.S.C. §
               1692k(a)(1), including to the extent the recovery of attorney’s fees and costs
               causes Plaintiff or the class a negative tax consequence;

       E.      For attorney’s fees, litigation expenses and costs in connection with this
               action pursuant to 15 U.S.C. § 1692k(a)(3);

       F.      For pre-judgment and post-judgment interest; and

       G.      For such other and further relief as the Court deems equitable and just.

                                 VIII.     JURY DEMAND

       Plaintiff demands trial by jury as to all claims and defenses.

                                  IX.     CERTIFICATION

       Pursuant to Local Civil Rule 11.2, I hereby certify to the best of my knowledge that the

matter in controversy is not the subject of any other action pending in any court or of any

pending arbitration or administrative proceeding.




                                             Page 8 of 9
 Case 2:20-cv-15755-KM-ESK Document 1 Filed 11/09/20 Page 9 of 9 PageID: 9




                                  KIM LAW FIRM LLC

                                  s/Yongmoon Kim
Dated: November 9, 2020           Yongmoon Kim
                                  Attorneys for Plaintiff




                                 Page 9 of 9
